           Case 2:21-cr-00142-KJM Document 5 Filed 11/19/20 Page 1 of 5
                                                                                                                 FILED
From:           ECF-CAND                                                                                        Nov 19, 2020
To:             CAND EFiling                                                                                 CLERK, U.S. DISTRICT COURT
Subject:        Activity in Case 3:20-mj-71662-MAG USA v. Sanchez Notice of Criminal Case Transfer         EASTERN DISTRICT OF CALIFORNIA

Date:           Thursday, November 19, 2020 12:56:02 PM




This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT
RESPOND to this e-mail because the mail box is unattended.
***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States
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referenced document is a transcript, the free copy and 30 page limit do not apply.

                                             U.S. District Court
                                                                                                     CAED Case No.
                                      California Northern District                                   2:20-mj-0174 KJN

Notice of Electronic Filing

The following transaction was entered on 11/19/2020 at 12:55 PM PST and filed on
11/19/2020
Case Name:           USA v. Sanchez
Case Number:         3:20-mj-71662-MAG
Filer:
Document Number: 5(No document attached)

Docket Text:
NOTICE OF CRIMINAL CASE TRANSFER.

Case transfer from California Northern to Eastern District of California
(Sacramento) of a Rule 5 Appearance as to Desiree Brianna Sanchez. Your case
number is: 2:20-mj-00174-KJN-1. Public transfer documents are accessible and
can be retrieved by your court via PACER. Under seal or otherwise restricted
documents will be emailed directly. Please send acknowledgement of receipt,
including the case number, to InterDistrictTransfer_CAND@cand.uscourts.gov
If you wish to designate a different email address for future transfers, send
your request to the national list host at
InterDistrictTransfer_TXND@txnd.uscourts.gov. (jlgS, COURT STAFF) (Filed on
11/19/2020)


3:20-mj-71662-MAG-1 Notice has been electronically mailed to:

Ellen Valentik Leonida        ellen_leonida@fd.org, Alyce_Kalmar@fd.org,
joathan_nunez@fd.org

Scott D. Joiner scott.joiner@usdoj.gov, CaseView.ECF@usdoj.gov,
kimberly.richardson2@usdoj.gov, Lance.Libatique@usdoj.gov
                                           Case 2:21-cr-00142-KJM Document 5 Filed 11/19/20 Page 2 of 5



                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    USA,                                                 Case No.20-mj-71662-MAG-1 (JSC)
                                                       Plaintiff,
                                   8
                                                                                             Charging District's Case No.
                                                v.
                                   9
                                                                                             2:20-mj-0174-KJN
                                  10    DESIREE BRIANNA SANCHEZ,
                                                       Defendant.
                                  11

                                  12                                COMMITMENT TO ANOTHER DISTRICT
Northern District of California
 United States District Court




                                  13           The defendant has been ordered to appear in the Eastern District of California.

                                  14   The defendant may need an interpreter for this language: none.

                                  15           The defendant:          ( ) will retain an attorney.

                                  16                                   (x ) is requesting court-appointed counsel.

                                  17           The defendant remains in custody after the initial appearance.

                                  18

                                  19           IT IS ORDERED: The United States Marshal must transport the defendant, together with

                                  20   a copy of this order, to the charging district and deliver the defendant to the United States Marshal

                                  21   for that district, or to another officer authorized to receive the defendant. The Marshal or officer

                                  22   of the charging district should immediately notify the United States Attorney and the Clerk of the

                                  23   Clerk for that district of the defendant's arrival so that further proceedings may be promptly

                                  24   scheduled. The Clerk of this district must promptly transmit the papers and any bail to the

                                  25   charging district.

                                  26   Dated: November 18, 2020
                                                                                          ______________________________________
                                  27                                                      JACQUELINE SCOTT CORLEY
                                                                                          United States Magistrate Judge
                                  28
                                                                                                       CLOSED
                     Case 2:21-cr-00142-KJM Document 5 Filed 11/19/20 Page 3 of 5
                                   U.S. District Court
                       California Northern District (San Francisco)
             CRIMINAL DOCKET FOR CASE #: 3:20-mj-71662-MAG All Defendants


Case title: USA v. Sanchez                                          Date Filed: 11/18/2020
Other court case number: 2:20-mj-00174-KJN-1 Eastern District of    Date Terminated: 11/19/2020
                         California (Sacramento)


Assigned to: Magistrate Judge

Defendant (1)
Desiree Brianna Sanchez                               represented by Ellen Valentik Leonida
TERMINATED: 11/19/2020                                               Federal Public Defender's Office
                                                                     450 Golden Gate Avenue
                                                                     Room 19-6884
                                                                     Box 36106
                                                                     San Francisco, CA 94102
                                                                     (415) 436-7700
                                                                     Fax: (415) 436-7706
                                                                     Email: ellen_leonida@fd.org
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED
                                                                     Designation: Public Defender or Community
                                                                     Defender Appointment

Pending Counts                                                       Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                                    Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                                           Disposition
18 U.S.C. § 371 - Conspiracy



Plaintiff
USA                                                   represented by Scott D. Joiner
                                                                     U.S. Attorney's Office
                                                                     Corporate Fraud Strike Force
                                                         450 Golden Gate Ave.
                  Case 2:21-cr-00142-KJM Document 5 FiledSan Francisco,
                                                          11/19/20       CA 494102
                                                                      Page    of 5
                                                         (415) 436-7200
                                                         Fax: (415) 436-7234
                                                         Email: scott.joiner@usdoj.gov
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED
                                                         Designation: Assistant US Attorney


Date Filed   # Docket Text
11/18/2020   1 Notice of Proceedings on Out-of-District Criminal Charges Pursuant to Rules 5(c)(2) and (3) of the
               Federal Rules of Criminal Procedure as to Desiree Brianna Sanchez (1). (Attachments: # 1
               Criminal Complaint, # 2 Warrant) (jlgS, COURT STAFF) (Filed on 11/18/2020) (Entered:
               11/18/2020)
11/18/2020      Arrest of Desiree Brianna Sanchez in Northern District of California. (jlgS, COURT STAFF)
                (Filed on 11/18/2020) (Entered: 11/18/2020)
11/18/2020   2 Minute Entry for proceedings held before Magistrate Judge Jacqueline Scott Corley: Initial
               Appearance as to Desiree Brianna Sanchez held on 11/18/2020. Added attorney Ellen Valentik
               Leonida for Desiree Brianna Sanchez.

                The Court directs entry of the following Order: Pursuant to the Due Process Protection Act, the
                Court advised government counsel of the government's disclosure obligations under Brady v.
                Maryland and its progeny, and that the failure to do so in a timely manner may result in dismissal
                of the indictment or information, dismissal of individual charges, exclusion of government
                evidence or witnesses, or any other remedy that is just under the circumstances.

                Total Time in Court: 00:10. Court Reporter: 11:27 - 11:37 (Recorded by Zoom). Plaintiff Attorney:
                Scott Joiner. Defendant Attorney: Ellen Leonida. Pretrial Officer: Sean Hamel. Defendant Present:
                Yes. Defendant in Custody: Yes. (jlgS, COURT STAFF) (Filed on 11/18/2020) (Entered:
                11/19/2020)
11/19/2020   3 CJA 23 Financial Affidavit by Desiree Brianna Sanchez. (jlgS, COURT STAFF) (Filed on
               11/19/2020) (Entered: 11/19/2020)
11/19/2020   4 COMMITMENT TO ANOTHER DISTRICT as to Desiree Brianna Sanchez. Defendant
               committed to District of Eastern District of California (Sacramento). Signed by Magistrate
               Judge Jacqueline Scott Corley on 11/18/2020. (jlgS, COURT STAFF) (Filed on 11/19/2020)
               (Entered: 11/19/2020)
11/19/2020   5 NOTICE OF CRIMINAL CASE TRANSFER.

                Case transfer from California Northern to Eastern District of California (Sacramento) of a Rule 5
                Appearance as to Desiree Brianna Sanchez. Your case number is: 2:20-mj-00174-KJN-1. Public
                transfer documents are accessible and can be retrieved by your court via PACER. Under seal or
                otherwise restricted documents will be emailed directly. Please send acknowledgement of receipt,
                including the case number, to InterDistrictTransfer_CAND@cand.uscourts.gov
                If you wish to designate a different email address for future transfers, send your request to the
                national list host at InterDistrictTransfer_TXND@txnd.uscourts.gov. (jlgS, COURT STAFF)
                (Filed on 11/19/2020) (Entered: 11/19/2020)



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                                                                Code:
                          Login:
                                                                 Search      3:20-mj-
                          Description:   Docket Report
                                                                 Criteria:   71662-MAG
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PACER fee: Exempt
